Case 1:01-cv-12257-PBS Document 7550-11 Filed 05/19/11 Page 1 of 5




        Exhibit 11
             Case 1:01-cv-12257-PBS Document 7550-11 Filed 05/19/11 Page 2 of 5


Mentzer, Stefan
From:                    ECFnotice@mad.uscourts.gov
Sent:                    Wednesday, March 30, 2011 10:44 AM
To:                      CourtCopy@mad.uscourts.gov
Subject:                 Activity in Case 1:08-cv-10852-PBS VEN-A-CARE v. Actavis Mid Atlantic, LLC et al Order on
                         Motion for Hearing


This is an automatic e-mail message generated by the CM/ECF system. Please DO NOT RESPOND to
this e-mail because the mail box is unattended.
***NOTE TO PUBLIC ACCESS USERS*** Judicial Conference of the United States policy permits
attorneys of record and parties in a case (including pro se litigants) to receive one free electronic copy of
all documents filed electronically, if receipt is required by law or directed by the filer. PACER access fees
apply to all other users. To avoid later charges, download a copy of each document during this first
viewing. However, if the referenced document is a transcript, the free copy and 30 page limit do not
apply.

                                         United States District Court

                                          District of Massachusetts

Notice of Electronic Filing

The following transaction was entered on 3/30/2011 at 10:44 AM EDT and filed on 3/28/2011
Case Name:           VEN-A-CARE v. Actavis Mid Atlantic, LLC et al
Case Number:         1:08-cv-10852-PBS
Filer:
Document Number: No document attached

Docket Text:
Judge Patti B. Saris: ELECTRONIC ORDER entered granting [135] Motion for Hearing. "This
case is old. I will hold a status conference in eight weeks to determine what issues are left."
Status Conference set for 5/24/2011 at 2:30 P.M. (Anderson, Jennifer)


1:08-cv-10852-PBS Notice has been electronically mailed to:

Jonathan Shapiro jshapiro@sswg.com, cbrotstein@bm.net, sthomas@bm.net

Erik J. Frick efrick@eckertseamans.com

Peter E. Ball peb@sally-fitch.com, dac@sally-fitch.com

Martin F Murphy mmurphy@foleyhoag.com

John R. Fleder jrf@hpm.com, mlb@hpm.com

Sara Jane Shanahan sjshanahan@sherin.com

James W. Matthews jwmatthews@sherin.com, jrossi@sherin.com
                                                       1
             Case 1:01-cv-12257-PBS Document 7550-11 Filed 05/19/11 Page 3 of 5


Michael T. Sullivan msullivan@ckrpf.com

John E. Clark haumann@goodelaw.com, clark@goodelaw.com, riklin@goodelaw.com

William A. Escobar wescobar@kelleydrye.com

Katy Ellen Koski kekoski@sherin.com

Neil Merkl nmerkl@kelleydrye.com

Philip D. Robben probben@kelleydrye.com

Kerry M. Mustico kmustico@crowell.com

Paul K Dueffert pdueffert@wc.com

Brian C. Carroll BCarroll@foleyhoag.com

Karen N. Walker kwalker@kirkland.com

Christopher C. Palermo cpalermo@kelleydrye.com

Jennifer Gardner Levy jlevy@kirkland.com

Edwin John U. eu@kirkland.com

Wayne A. Cross wcross@whitecase.com

Michael J. Gallagher mgallagher@whitecase.com, ahanstead@whitecase.com

Paul B. Carberry pcarberry@whitecase.com

Jason L. Drori jldrori@sherin.com, jrossi@sherin.com

Jay P. Lefkowitz jlefkowitz@kirkland.com

John K. Crisham jcrisham@kirkland.com

Thomas W. Kirchofer twkirchofer@sherin.com

Michael C. Occhuizzo mocchuizzo@kirkland.com, jlharris@kirkland.com

Sung W. Kim sukim@kelleydrye.com

Michael J. Maloney mmaloney@kelleydrye.com

Andrew T. Boone aboone@wc.com

John F. Nagle jfnagle@sherin.com

                                                       2
             Case 1:01-cv-12257-PBS Document 7550-11 Filed 05/19/11 Page 4 of 5

James P. Ellison jpe@hpm.com

Stefan M. Mentzer smentzer@whitecase.com

Ryan M. Cunningham rmc@sally-fitch.com

Jennifer G. Wicht jwicht@wc.com

Rand J. Riklin riklin@goodelaw.com

Glenn W. MacTaggart gmactaggart@phmy.com, kmann-warfield@phmy.com, sstavola@phmy.com

Heather K. McDevitt hmcdevitt@whitecase.com

Alison Hanstead ahanstead@whitecase.com

Jennifer L. Gibbons jgibbons@wc.com

Kimberly Perrotta Cole kcole@wc.com

Kevin M. Young kyoung@phmy.com

Leah M. Kauffman mkauffman@phmy.com

Amy Tridgell atridgell@crowell.com

Anne Kuykendall akuykendall@crowell.com

Brian C. Rabbitt BRabbitt@wc.com

Benjamin E. Vaughn bvaughn@wc.com

1:08-cv-10852-PBS Notice will not be electronically mailed to:

United States of America


Alexander L. Berg
Kirkland & Ellis LLP
655 Fifteenth Street, N.W.
Washington, DC 20005

Brendan Cyr
Kelley Drye & Warren LLP
101 Park Avenue
New York, NY 10178

Courtney Amber Clark
Sherin and Lodgen LLP
101 Federal Street
Boston, MA 02110
                                                    3
             Case 1:01-cv-12257-PBS Document 7550-11 Filed 05/19/11 Page 5 of 5


Judson D. Brown
Kirkland & Ellis LLP
655 Fifteenth Street, N.W.
Washington, DC 20005

Kevin C Mayer
Crowell & Moring LLP
515 South Flower Street
40th Floor
Los Angeles, CA 90071

Robert Rhoad
Crowell & Moring LLP
1001 Pennsylvania Avenue, N.W.
Washington, DC 20004-2595

Susan Schneider Thomas
Berger & Montague PC
1622 Locust Street
Philadelphia, PA 19107




                                             4
